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 Counsel for Glen and Alison Kunofsky

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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                                    :
In re:                              :                   Chapter 11
                                    :
ABR BUILDERS LLC,                   :                   Case No.: 19-11041 (SHL)
                                    :
                Debtor.             :
------------------------------------x

                    RESPONSE OF GLEN AND ALISON KUNOFSKY
                  TO SECOND AMENDED DISCLOSURE STATEMENT

       Glen and Alison Kunofsky (the “Kunofskys”) file this response (the “Response”) to the

Debtor’s Second Amended Disclosure Statement dated January 16, 2019 [sic] (the “Second

Amended Disclosure Statement”) [ECF No. 86], filed by ABR Builders LLC (the “Debtor”)

relating to the Debtor’s Second Amended Plan dated January 16, 2020 (the “Second Amended

Plan”) [ECF No. 85]. In support of this Response, the Kunofskys respectfully represent as follows:

       1.      On November 11, 2019, the Kunofskys filed their objection (the “Objection”) [ECF

No. 55] to approval of the Disclosure Statement dated October 3, 2019 (as amended on November

19, 2019, the “Disclosure Statement”) filed by the Debtor relating to the Debtor’s Plan of

Reorganization dated October 2, 2019 (as amended on October 8, 2019 and November 19, 2019,

the “Plan”). The Kunofskys incorporate herein by reference all of the arguments set forth in their
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Objection. Capitalized terms not defined in this Response shall have the meaning ascribed to them

in the Objection.

       2.      On November 21, 2019, the Court held a hearing to consider approval of the

original Disclosure Statement. At the conclusion of that hearing, the Court adjourned the hearing

to February 6, 2020. On January 16, 2020, nearly two months after the hearing on the Disclosure

Statement, the Debtor filed its Second Amend Plan and Second Amended Disclosure Statement.

       3.      The modifications contained in the Second Amended Disclosure Statement do not

remedy the fundamental defects identified in the Objection. The Second Amended Disclosure

Statement continues to describe an unconfirmable plan for the same reasons set forth in the

Objection.

       4.      As in the prior Plan, the Second Amended Plan provides that the Debtor’s principals

(including the Guarantor) shall retain their interests in the Debtor and receive a third-party release

under the Plan in consideration of a combined $200,000 contribution payable over four years

(commencing after the first year of the effective date of the plan), all while general unsecured

creditors receive pennies on the dollar for their claims.

       5.      Thus, the Second Amended Plan continues to contain an impermissible third-party

release, and the Second Amended Disclosure Statement does not provide any basis to support the

proposition that the circumstances here are “rare,” “unique,” or “unusual,” to justify the third-party

release.

       6.      Furthermore, the Second Amended Plan continues to violate the absolute priority

rule. The Second Amended Disclosure Statement does not contain any information or disclosures

that justify a new value exception to the absolute priority rule. Notably, the Debtor completely

fails to address the caselaw cited in the Objection that new value must a present contribution, and




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a promise to make future payments cannot qualify as new value. See In re Woodmere Investors

Ltd. P’ship, 178 B.R. 346, 363 (Bankr. S.D.N.Y. 1995) (“[I]t is settled law that a promise to pay

future income is not ‘new value.’”); In re 8315 Fourth Ave. Corp., 172 B.R. 725, (Bankr. E.D.N.Y.

1994) (“Courts have routinely held that even a promissory note issued by an ‘equity holder’ is not

money or money’s worth because it is not a present contribution.”) (collecting cases); see also In

re G-I Holdings Inc., 420 B.R. 216, 269 (D.N.J. 2009) (“To invoke the new value exception to the

absolute priority rule, the qualifying new value contribution must be … proffered by the debtor at

the outset, i.e., ‘up front.’”).

        7.       Instead, the Debtor relies principally on the argument that, because other parties are

free to propose a competing chapter 11 plan, it has opened the bidding on the Debtor’s equity

interests. But this Court, at the request of the Debtor, entered an order extending the Debtor’s

exclusivity period to confirm a plan through February 2, 2020.

        8.       The Kunofskys anticipate raising their objections to the confirmation of the Second

Amended Plan at any plan confirmation hearing that may be scheduled by the Court, should the

Court approve the Second Amended Disclosure Statement.

Dated: New York, New York
       January 24, 2020

                                                        RUBIN LLC

                                                        By:    /s/ Paul A. Rubin
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